      Case 4:25-cv-00779    Document 9        Filed on 04/03/25 in TXSD   Page 1 of 2
                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                                                                                  April 04, 2025
                     IN THE UNITED STATES DISTRICT COURT                       Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
 ANTHONY HUTCHISON,                            §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §    Civil Action No. H-25-0779
                                               §
 FRANKLIN CREDIT                               §
 MANAGEMENT CORP. AND                          §
 KENSINGTON. LLC,                              §
                                               §
         Defendants.                           §
                                               §
                                         ORDER
        Pending before the Court is Plaintiffs Motion to Nonsuit with Prejudice

and for Remand (Document No. 3). On March 4, 2025, the Court granted the

motion in part, allowing Defendant Franklin Credit Management Corporation to

be removed from the case. 1 In that Order, the Court deferred ruling on

whether remand is appropriate in the present matter until the remaining

Defendant Kensington LLC, had             an       opportunity   to   respond.2    Having

considered the motion, defendant's submissions, and applicable law, the Court

finds that diversity amongst the parties does not exist such to 'satisfy the legal

standard for the Court to wJeld jurisdiction. Considering the Fifth Circuit's clear

guidance that when a federal court lacks subject
        1 Court Order, Document No. 6 at 1.

        2 Court Order, Document No. 6 at 2.
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matter jurisdiction the case must be remanded to state court, the Co1,1rt finds that .the

motion should be granted and the case should be remanded backto the 127th Judicial

District of Harris County, Texas. Accordingly, the Court hereby

      ORDERS that Plaintiffs Motion to Nonsuit with Prejudice and for Remand

(Document No. 3) is GRANTED. The Court further

      ORDERS that this matter be remanded back to the 127th Judicial District of

Harris County, Texas.

      SIGNED at Houston, Texas, on this __.9__ day of April, 2025.




                                               United States District Judge




                                           2
